         Case 21-32261 Document 117 Filed in TXSB on 10/14/21 Page 1 of 3



                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re:                                          §
                                                §               Case No. 21-32261
KORNBLUTH TEXAS, LLC,                           §
                                                §               Chapter 11
         Debtor.                                §

                         STIPULATION REGARDING PAYMENT OF
                        POST-PETITION LICENSE AGREEMENT FEES
                                   (Relates to ECF # 110)

         Kornbluth Texas, LLC, the above-captioned debtor and debtor in possession (the

“Debtor”), WFCM 2016-LC25 West Bay Area Boulevard, LLC (“Lender”), and Holiday

Hospitality Franchising, LLC (“HHF,” and together with the Debtor and Lender, the “Parties”),

hereby enter into this Stipulation Regarding Payment of Post-Petition License Agreement Fees,

and agree as follows:

                                          RECITALS

         A.    WHEREAS, HHF, as licensor, and the Debtor, as licensee, are parties to that

certain Holiday Inn® Hotel Change of Ownership License Agreement dated October 20, 2016

(as may have been amended, the “License Agreement”).

         B.    WHEREAS, on July 5, 2021 (the “Petition Date”), the Debtor filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)

in the United States Bankruptcy Court for the Southern District of Texas, Houston Division (the

“Court”). The Debtor continues to manage its property and its business as a debtor in possession

pursuant to Bankruptcy Code sections 1107 and 1108. The Debtor’s primary asset is its interest

in the real property commonly known as Holiday Inn Webster and located at 302 West Bay Area

Boulevard, Webster, Texas 77598.
          Case 21-32261 Document 117 Filed in TXSB on 10/14/21 Page 2 of 3



         C.       WHEREAS, on October 13, 2021, the Court entered the Agreed Order and

Stipulation Authorizing Debtor to Use Cash Collateral on a Final Basis [ECF # 110] (the “Cash

Collateral Order”). As further provided and defined in the Cash Collateral Order, the Debtor is

authorized to use the Lender’s Cash Collateral in accordance with the Operating Budget (as the

same may be amended or modified with the express prior written consent of Lender).

                                          STIPULATION

         NOW, THEREFORE, the Parties hereby stipulate and agree as follows:

         1.       Notwithstanding anything to the contrary in the Cash Collateral Order, the Debtor

is authorized to pay all post-petition fees owed by the Debtor to HHF pursuant to the License

Agreement on a monthly basis and in the ordinary course of business, and such payments shall

not be limited by the Operating Budget.


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                                                  2
4825-1189-6319, v. 1
          Case 21-32261 Document 117 Filed in TXSB on 10/14/21 Page 3 of 3



AGREED TO FORM AND SUBSTANCE:



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                                                3
4825-1189-6319, v. 1
